No. 21-2977 FILED

UNITED STATES COURT OF APPEALS |e 1 | TEPHENS, Clerk
KEVIN LINDKE, )
Plaintiff-Appellant,
v. ORDER
JAMES R. FREED, in his official and personal
capacities, )
Defendant-Appellee. 3

Upon consideration, the Court GRANTS the motion to extend time to file briefs. The
appellant should file his brief no later than 5:00 p.m. Eastern on June 14. The appellee should file
his brief no later than 5:00 p.m. Eastern on June 28. Appellant may file a reply brief by 5:00 p.m.
Eastern on July 12. Appellant and Appellee briefs should not exceed forty double-spaced pages
each. Appellant’s reply brief should not exceed twenty-five double-spaced pages. Oral argument
is RESCHEDULED for July 29 at 3:00 p.m. Eastern via Zoom.

ENTERED BY ORDER OF THE COURT

Kelly L. Slephens, Clerk

